EXHIBIT 4
                                                      Dr. Camp (6/26/14)
                                                                                                         (Pages 1 to 4)
                                                                                                                                           3
             UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF CAliFORNIA
               SAN FRANCISCO DIVISION


                       )
IN RE CONsECO liFE INSURANCE )CASE NO.: 3:10-md-2124 51 (EDl)
COMPANY UFETREND INSURANCE )
SALES AND MARKETING                  )
LfTlGATION,                     )Bumett v. Conseco ute
                                   Insurance Co.                         DEFENDANT'S EXHIBITS MARKED:                               PAGE

--------)
                                                                         Number 11 - Conseco Letter Dated December 18, 2008.. 115

                                                                         Number 12 - cash Surrender Dated february 10, 2009.. 118
                 VIDEOTAPED DEPosmON
                                                                         Number 13 - fax to Gerard Wathen with Attachments.. 120
                           OF
                  JOE H. CAMP, D.D.S.                                    Number 14 - Massachusetts General Life Policy With

                                                                                  Handwritten Notations. . • . . . . • .,   125
                      Taken at:

                  Winston & Strawn llP
                                                                         (Burnett Exhibit No. 41 was marked in a previous deposition,
            100 North TryOn Street - 29th Floor
                Charlotte, North carolina                                but was referenced and will be attached with the other

                                                                         exhibits.)
                On Thursday, June 26, 2014


          REPORTER: JENNIFER J. ALBERT, RPR, CRR
                                                                                       (Exhibits attached to transcript.)
                    Notary PubliC



                                                           Page 2                                                                 Page 4
                 APPEARING                                           1          Pursuant to Notice in the aforementioned matter and
For the Plaln~ffs William Jeff Burnett and Joe H. camp:
           Stephen A. WeiSbrod, Esq.                                 2   in accordance with the federal Rules of Civil Procedure, this
           Weisbrod Matteis &. Copley PLLC
           1900 M Street, NW                                         3   deposition of JOE H. CAMP, D.D.S., was taken by Defendant
           Suite 850
           WashlnglXln, DC 20036                                     4   beginning at 9:11 a.m. on June 26, 2014, before JENNIfER J.
           202.499.7900                                              5   ALBERT, Registered Professional Reporter, Certified Realtime
           sweisbrod@wmdaw.com
                                                                     6   Reporter and Notary Public.
For the Defendant Conseco Ufe Insurance Company:
          John M. Aerni, Esq.                                        7                THE VIDEOGRAPHER: Starting of No. 1. On the
          Winston &. Strawn LLP
          200 Pari< Avenue                                           8            record at 9:11 a.m. This is the videotaped
          New York, NY 10166
          212.294.4665                                               9            deposition of Dr. Joe H. camp. This is in the
          jaemi@winston,com                                         10            United States District Court for the Northern
ALSO PRESENT: Scott Swing, Vldeographer                             11            District of California, San Francisco Division.
                                                                    12            The case number is 3:10-md-2124 SI (EDL).
                    IN DEX                                          13                   Today's date and time is indicated on the
                                         PAGE                       14            video screen. We are located today at 100 North
                                                                    15            Tryon Street in Charlotte, North Carolina. The
EXAMINATION BY MR. AERNI. • . . . . . • • . • • . 5
EXAMINATION BY MR. WEISBROD. • . . • . • • • • • •• 127             16            court reporter today is Jennifer Albert; she's here
FURTHER EXAMINATlON BY MR. AERNI. • • • . • • . • .• 131
                                                                    17            on the behalf of Lowrance Court Reporting Services,
DEFENDANl'S EXHIBITS MARKED:
Number 1 - Massathusetts General Ufe Insurance                      18            located in Charlotte, North Carolina. My name is
       Policy•.••.•..•...•.•. "           16
Number 2 - Statement of Policy Cost and Benefit                     19            Scott Swing, I'm with East Coast Legal Video
       InfOrmation .. .. .. .. .. . .... 23                         20
Number 3 - Conseco Ufe Annual Statements. • • . .. 26
                                                                                  Productions; I'm the videographer, also from
Number 4 - Policyholder Statement for May 15, 1994,                 21            O1arlotte, North Carolina.
       IXl May 16, 1995 .. .. . .. .. .... 29
Number 5 - COnseco Ufe Insurance Company Letter                     22                   At this time counselors will verbally
       Dated October 7, 2008 . • . . • • • • .. 30
Number 6 - Shortfall Nooce Dated November 16, 2006. 34              23            introduce themselves and who they represent,
Number 7 - Shortfall Notice Dated December 11, 2006. 34
Number 8 - Conseco Letter Dated December 19, 2008.. 35              24            starting with the noticing attorney first, please.
Number 9 Request to Surrender for Net cash Value. 36
Number 10 COnseco Letter Dated December 1, 2006 •• 103
                                                                    25                MR. AERNI: John Aerni from Winston & Strawn for




                                                                                                                                               1
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                                                          Dr. Camp (6/26/14)
                                                                                                         (Pages 17 to 20)
                                                                    17                                                                    Page 19
 1       BY MR. AERNI:                                                    1       saying it had been -- they had been taken over by Conseco
 2    Q. SO the first document on your stack is a document that           2       and so forth.
 3       I've premarked as Camp Exhibit 1. Do you see that?               3    Q. And when you received camp Exhibit 1 you were living here
 4    A. Yes, Ida.                                                        4       In North carolina?
 5    Q. And I will just mention for the record's sake, so the            5    A. Yes, I was here in Charlotte.
 6       record is clear, there are some numbers in the bottom            6    Q. And did Mr. Gamble deliver the policy to you here In
 7       right-hand corner of the document, Doctor, and does Camp                 North carolina?
 8       Exhibit 1 have the numbers in the bottom right BC-57 .- it       8    A. Yes, he did. I went to his office and we went over the
 9       starts --                                                        9       policy.
10    A.0051.                                                            10    Q. You mentioned that you went over the policy with
11    Q. Right.                                                          11       Mr. Gamble. That was around May of 1993 when you bought
12    A. Yes.                                                            12       it.
13    Q. And I'm just going to make it simpler, I'm just going to        13    A. Yes. After that, shortly after that.
14       ignore those zeros.                                             14    Q. So you've reviewed the policy at least once. Have you
15    A. Okay.                                                           15       reviewed It since approximately May of 1993?
16    Q. So it starts with BC-57, and if you can just confirm with       16    A. No.
17       me that it runs through until BC-76?                            17    Q. Did you review it at all in connection with this lawsuit?
18    A. That's correct.                                                 18    A. No.
19    Q. And, Doctor, I will mention to you that the BC designation      19    Q. Did you review it at all in connection with coming here
20       in front of those numbers is an indication that your            20       today to give testimony?
21       counsel forwarded the documents to us. My understanding         21    A. No.
22       is the B stands for Burnett and C stands for camp, so           22    Q. Did you      when there was various correspondence over the
23       these are documents from Mr. Burnett and yourself.              23       years, be it with Massachusetts General Ufe Or Conseco
24             Let me just ask you to confirm, if you would, that        24       Life Insurance Company, did you ever go back and look at
25       Camp Exhibit 1 in front of you is a document that's in          25       the life Insurance policy?



                                                               Page 18                                                                    Page 20
 1     your records?                                                      1    A. No, I always called Mr. Gamble and asked for an
 2   A. Yes.                                                              2      explanation, and I would meet with him if there was some
 3   Q. Is it the policy, the life insurance policy, that brings          3      question, rather than me going back and digging out the
 4      us here today?                                                    4      policy, because I don't understand half of what's written
 5   A. It 15.                                                            5      in -- well, 90 percent of what's written in these
 6   Q. Have you ..                                                       6      policies.
 7   A. Well, can I say something? This is Massachusetts General;         7    Q. You've been practicing as a dentist and endodontist for
 8     of course, this was taken over by Conseco. So I don't              8      many years. Do you also have professional liability
 9     know if that makes any dIfference or not, but --                   9      Insurance?
10   Q. Okay.                                                            10   , A. Yes, Ido.
11   A. ThiS is the original policy that was Issued to me.               11    Q. Is it fair to say you've had that most or all of your
12   Q. Tha~s right. And this was a policy that you bought               12      career?
13     around May 15th of 19937                                          13    A. All of my career.
14   A. Yes.                                                             1"    Q. Do you have familiarity with professional liability
15   Q. And was it Mr. Gamble's recommendation that you buy this         15      insurance?
16     policy?                                                           16    A. Yes.
17   A. Yes.                                                             17    Q. And do you have it covertng you as of today even?
18   Q. And this was the policy that you cashed in In around late        18    A. I have a limited policy. Since I'm not practicing
19     2008 or early 2009?                                               19      full-time, I was able to go to a limited policy, but, yes,
20   A. Well, the follow-up policy that Conse<:o had taken Over was      20      I have a limited policy.
21     the policy I cashed in, which originated from this.               21    Q, And how many different Insurers or earners have you had
22   Q. Is It your understanding that there was some policy that         22      over the years for your professional liability Insurance?
23     was Issued for this coverage In addition to the camp              23    A. Maybe three or four. The companies -- these companies buy
24     Exhibit 1 tha~s In front of you?                                  24      each other out and change names, and the one I have now,
25   A. I don't remember anything, I just remember getting letters       25      you know, bought -- bought the one out before them and




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                                                     Dr. Camp (6/26/14)
                                                                                                       (Pages 25 to 28)
                                                                    25                                                                  Page 27
 1   Q. And then where it says "for more information," under that         1      Camp Exhibit 3, Doctor, the first three pages of Camp
 2      it says Date, May 15th, 1993.                                     2      Exhibit 3 reflect one of these annual reports that was for
 3         Do you see that?                                               3      the period May 15th, 2002, to May 15th, 2003?
 4   A. Yes.                                                              4   A. Yes.
 5   Q. And then there's -- under that it says Policy Number, and         5   Q. And then the       am I correct that the next -- as you go
 6      then there's a policy number there; right?                        6      through the document the next statements in order just go
 7   A, COrrect.                                                          7      year by year after that period until May of 2008?
 8   Q. I don't know if you need to check or not, but would you           S   A. That's correct.
 9     agree that that policy number is your policy, the one              9   Q. And is it -- am I correct that you did not receive an
10      that's Camp Exhibit I?                                           10      annual statement for the year ending May of 2009, because
11         You can check to confirm that if you -- if you want.          11      you had already surrendered your policy before May of
12      And that's the Complaint, Doctor. Okay. You can check            12      2009?
13      that as well.                                                    13   A. That's correct.
14             MR. WEISBROD: Which one are you                           14   Q. And I'm gOing to tum now to the last -- the last four
15             THE WITNESS: He's saying I should confirm that            15      pages of Camp Exhibit 3, Dr. Camp. The pages at the
16           number is this policy.                                      16      bottom are marked BC -- I will start with the pages marked
17     BY MR. AERNI:                                                     17      BC-12 and -13. And tell me when you're with me.
18   Q. If you would take a look at Camp Exhibit 1.                      18   A. Okay. I have BC-12.
19   A. I'm sorry, I was looking at the wrong thing.                     19   Q. BC-12 and -13 reflect one of these annual statements for
20   Q. If you would look at Page 3 of Camp Exhibit I, Doctor.           20      the period May 2007 to May 2008?
21     Page 3 of Camp Exhibit No.1 is the one above you there.           21   A. To May 16th, 2008.
22   A. Oh. Yes. Yes, that's correct.                                    22   Q. And that's what I'll call a clean copy of the report;
23   Q. And is Camp Exhibit 2 a document that you received around        23      right? There's no handwriting on it?
24      May of 1993 when you bought the policy?                          24   A. That's correct.
25   A. Yes, it is.                                                      25   Q. And the next two pages of Camp Exhibit 3, BC-25 and -26,



                                                        Page 26                                                                         Page 28
 1           (Thereupon, Camp Exhibit No.3 was marked for                 1     Is it correct that that's another copy of this annual
 2          Identification. )                                             2     statement that we just saw as 6C-12 and ·13, but it has
 3     BY MR. AERNI:                                                      3     markings and handwriting on it?
 4   Q. I'm going to move along here, Doctor. I will be moving            4   A. That's correct.
 5     along fairly quickly through these documents. So lers              5   Q. Is the handwriting on pages 6C-25 and -26 yours?
 6     turn to your next document in the stack; it's a document           6   A. No.
 7     I've labeled Camp Exhibit NO.3.                                    7   Q. Whose is it?
 8   A. Right.                                                            8   A. I have no idea.
 9   Q. And while you're thumbing through that, I will just               9   Q. Do you recognize Mr. Gamble's handwriting?
10     mention for the court reporter that the -- Camp Exhibit 3         10   A. No, I wouldn't. Sorry.
11     bears the following Bates numbers: BC-01 through -13, and         11   Q. When you received these annual statements that are in
12     BC-25 to -26.                                                     12     Camp Exhibit 3, did you on more than one occasion talk to
13   A. (Witness reviews document.)                                      13     Mr. Gamble about them?
14        Yeah, I received these kind of notices each year with          14   A. Yeah, I would call him each year about -- about the
15     the policy report.                                                15     statement. We'd traditionally do that with things that we
16   Q. And, Doctor, I will try to meke it clear for the record.         16     have together; when there's a yearly report and 50 forth,
17     Since there wasn't a question on the table, pardon me if I        17     we'd go over It; some thing5 In more detail than others.
18     back up and go through it again.                                  18   Q. And, Dr. Camp, I note that though we have the annual
19   A. Sure.                                                            19     statements starting with May -- starting from May 15th,
20   Q. But am I correct that Camp Exhibit 3 are a number of what        20     2002, rolWard, I note that we don't have annual statements
21     are known as annual reports or annual statements that you         21     from 1993 until May of 2002. Do you know why thars the
22     received from the insurance company, life insurance               22     case?
23     company, for the policy that's Camp Exhibit I?                    23   A. No, I do not.
24   A. Yes.                                                             24   Q. Have you searched for whether Or not you have annual
25   Q. And turning to the first two pages   first three pages of        25     statements from the period when you bought the policy




                                                                                                                                                  7
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                                                    Dr. Camp (6/26/14)
                                                                                                        (Pages 33 to 36)
                                                                   33                                                                       35
 1     kind of a shortfall to it?                                        1   Q. Next I'll turn to Camp Exhibit 7, Doctor. And Camp
 2   A. Yes.                                                             2      Exhibit -- I'll mention for the record that it has the
 3   Q. And you understood that to be in addition to these               3      identification number of BC-27.
 4     increases for cost of insurance expenses and other                4   A. Correct.
 5     expenses?                                                         5   Q. Is Camp Exhibit 7 also another document you received from
 6   A. Yes.                                                             6      Conseco Life Insurance around December 11th, 2008?
 7   Q. And staying on that second page in the paragraph under           7   A. Itis.
 8     Administrative Changes, there's a reference to optional           8   Q. And is Camp Exhibit 7 another number -- excuse me, another
 9     premium payment provision.                                        9      one of these Shortfall notices?
10         Do you see that?                                             10   A. Yes, it is.
11   A. Which paragraph is that again?                                  11   Q. And, Doctor, if you could just for a moment bring back the
12   Q. First paragraph under .-                                        12      last two exhibits in your stack there, so numbers -- I'd
13   A. First paragraph under Administrative Changes?                   13      ask you to have it in front of you at the moment 5, 6 and
14   Q. Yes. Correct.                                                   14      7.
15   A. And what am I looking for again?                                15   A. Yes.
16   Q. The phrase -- it's in the second line of that paragraph,        16   Q. Okay. And if you can sort of put them to your left side
17     Doctor, optional                                                 17      perhaps while we turn to the next document.
18   A. Yes.                                                            18   A. Okay.
19   Q. -- premium payment provision.                                   19             (Thereupon, Camp Exhibit No.8 was marked for
20   A. Yes.                                                            20            identification.)
21   Q. Was it your understanding that your policy allowed you to       21      BY MR. AERNI:
22     stop paying premium at some point?                               22   Q. The next document I've marked as Camp Exhibit No.8, it's
23   A. When I originally bought the policy I was to pay five           23      a one-page document that has the identification number
24     premiums and that was It forever.                                24      BC-55.
25   Q. So -- so you did understand there would be a time under         25   A. Correct.



                                                       Page 34                                                                     Page 36
 1     your policy when you would be allowed to stop paying              1   Q. Is camp Exhibit 8 a document you received from
 2     premium; is that correct?                                         2     Conseco Life Insurance Company around December 19th, 2008?
 3   A. Yes. Yes, after five years.                                      3   A. Yes, it -. yes, it was.
 4   Q. I'm going to move along to the next document, Doctor.            4   Q. And in the first paragraph of camp Exhibit 8 it's    the
 5              (Thereupon, Camp Exhibit No.6 was marked for             5     letter states: We are writing to notify you that at this
 6             identlrlCation.)                                          6     time you may temporarily disregard all previous notices
 7     BY MR, AERNI:                                                     7     sent to you from Conseco Ufe Insurance Company regarding
 8   Q. The next document I've premarked as Camp Exhibit No.6,           8     your Lifetrend policy.
 9     it's a one-page document, it has the identification number        9           Do you see that?
10     BC-14.                                                           10   A. Yes.
11   A. Correct.                                                        11   Q. When you got camp Exhibit 8, did you understand the
12   Q. And is Camp Exhibit 6 a document you received from              12     letter to be saying that you may temporalily disregard the
13     Conseco Ufe Insurance around November of 2008?                   13     three notices we just went through, the ones that are camp
14   A. Yes, It is.                                                     14     Exhibits 5, 6 and 7?
15   Q. And there is some boldface -- there is some bold type           15   A. I did, temporarily.
16     about a third of the way down the page that the bottom           16             (Thereupon, Camp Exhibit No.9 was marked for
17     line of that boldface says "shortfall notice." Do you see        17           identification. )
18     that?                                                            18     BY MR. AERNI:
19   A. Ida.                                                            19   Q. Moving along bliefiy to camp Exhibit 9, Doctor. And it
20   Q. And it's your understanding that Camp Exhibit 6 was giving      20     might be helpful if we keep them in order, Thank you.
21     you some kind of notice about a shortfall?                       21     And I know I make this difficult the way I do this with
22   A, Yes.                                                            22     all the paper shuffling, Doctor, SO bear with me.
23             (Thereupon, Camp Exhibit No.7 was marked for             23   A. No problem.
24          identification.)                                            24   Q. The next document I have marked as camp Exhibit 9, it's a
25     BY MR. AERNI:                                                    25     three-page document with the Identification numbers Be-49




                                                                                                                                                 9
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                                                            Dr. Camp (6/26/14)
                                                                                                     (Pages 61 to 64)
                                                             Page 61                                                               Page 63
  1

  2
  3
        that's when I did it, in the retirement plan.
           But I was just getting further insurance, you know.
        I had debts at that time. The building that we built, at
                                                                        1

                                                                        2
                                                                        3
                                                                              myself into paying premiums the rest of my life. I wanted
                                                                              something that I could pay a higher fee up front and be
                                                                              done with the premiums and the policy would then carry
                                                                                                                                                I
                                                                                                                                                I
                                                                                                                                                I
        that point we still didn't have key man insurance on that             itself so that I didn't have to be kicking in each year;
                                                                                                                                                I
        building, and so I had, you know, a home that I had bought
        and other •• other things that were debts that I needed
                                                                        5
                                                                        6
                                                                              because in my profession, you know, if I'm disabled or
                                                                              something happens and I can't practice, my income ceases.
                                                                                                                                                !
        coverage in the event of my death.                                    So, you know, that's •• that's what I was always looking          I
  8   Q. So at some point before May of 1993 or so you think            8     at.
                                                                                                                                                1j
  9     Mr. Gamble came to you about purchasing more                    9           And there's a -- although you don't walk around             i
 10     life insurance?                                                10     worrying about it all the time, there's always the                ,~
                                                                                                                                                ~

                                                                                                                                                ~
 11   A. Yes.                                                          11     possibility, you know, you can get disabled. Things               j
 12   Q. And do you recall, was this in a face-to-face meeting or a    12     happen and you can't practice anymore.                            1
 13
 14
        telephone call or some of both?
      A. It would have been some of both.
                                                                       13
                                                                       14
                                                                                    You've got to be able to, you know, have the
                                                                              dexterity in your hands and communicate from your brain
                                                                                                                                                I
 15
 16
      Q. Do you have any recollections of any conversations you had

        with Mr. Gamble around this time in 1993 when you
                                                                       15
                                                                       16
                                                                              down to your hands. So either one of those systems can --
                                                                              can go awry or be injured to the point where you can't
                                                                                                                                                I1
 17     purchased the policy?                                          17     practice, and if you're paying a big insurance premium            I
 18   A. I remember us talking about putting it in a retirement        18     every year then that's money you've got to come up with.
                                                                                                                                                1
 19
 20
        plan versus me taking it personally, and the only thing I
        had against buying it in the retirement plan was in the
                                                                       19
                                                                       20
                                                                                    50 I did not -- that's the one thing I knew I didn't
                                                                              want to do was lock myself into paying premiums the rest
                                                                                                                                                j
                                                                                                                                                !
 21     event of death and those other -- other individuals would      21     of my life.                                                       j
 22
 23
        -- would share in the proceeds; but, you know, it was
        using their money also to buy it, so they rightfully would
                                                                       22
                                                                       23
                                                                            Q. And the policy is a whole life insurance policy, your

                                                                              policy?
                                                                                                                                                I
                                                                                                                                                ~
 24     have had -- a portion of it would have belonged to them.       24   A. I don't -- I will be honest with you, I don't know. I            lJ
 25     And so on down the road I made the -- had the plans to buy     25     don't remember. I guess the policy states that somewhere


~-------------------------------------4------------------------------p-a-g--e--6-4-41
                                                                                                                                                i
                                                             Page 62
                                                                                                                                                ~
  1     it out personally. That's -- that's all I remember at           1     in it, but I honestly don't remember.
                                                                                                                                                ~
  2     this point.                                                     2   Q. Turn, if you would, to the cover page of the policy,
  3   Q. And was it your idea or Mr. Gamble's idea to purchase the      3     Doctor.
  4     plan initially and put it in the retirement plan?               4   A. (Witness complies.)
  5   A. That probably came from him.                                   5   Q. Down toward the bottom of the cover page --
  6   Q. And did he come to you with any particular policy in mind?     6   A. Yeah, it says whole life insurance, so it was whole life.
  7   A. Just the companies he represented, one of those, and he        7   Q. And if you would refer to Page 3 of the policy, Doctor.
  8     thought this was a good company. So that would have been        8   A. Yes.
  9     his recommendation.                                             9   Q. Over toward the right, about a third of the way down, do
 10        I know nothing about comparing one insurance company        10     you see a column that says Years Payable?
 11     to another. I mean, I can look at a spreadsheet maybe and      11   A. Yes.
 12     get an idea of their assets and so forth, but that doesn't     12   Q. And what does it say as far as years payable?
 13     tell me a whole lot.                                           13   A. It says life, but this was sold to me that I would only
 14   Q. And your policy has a death benefit or face amount of         14     pay five payments and then I would be done with it and the
 15     $500,000; right?                                               15     policy would carry itself. NOW, that mayor may not be
 16   A. Correct.                                                      16     true.
 17   Q. How was it that that amount was arrived at?                   17           Obviously it -- in the end it didn't tum out to be
 18   A. It was just a good number, I guess. It would have covered     18     true, but that was what the policy was sold to me as.
 19     what lowed on -- on the building that, you know, the debt      19     That I would pay five years and that would get enough
 20     we had on the building and possibly what I had on my home.     20     value in the policy and then I would never have to pay any
 21     I don't remember exactly why we chose $500,000.                21     premiums after that.
 22   Q. Did you have any -- before you purchased the policy, did      22   Q. And who told you that?
 23     you have discussion with Mr. Gamble about what type of         23   A. Mr. Gamble, I guess.
 24     policy you wanted to purchase?                                 24   Q. Did you talk to anybody else about the policy purchased
 25   A. Well, the one thing that I didn't want to do was lock         25     other than Mr. Gamble?




                                                                                                                                           16
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                                                           Dr. Camp (6/26/14)
                                                                                                            (P '9 s           69 to 72)
                                                                       69                                                             Page 71
   1     right?                                                              1   A. Not that 1 remember.
   2   A. Not that -- 1 don't --I don't under- -- 1 don't follow             2   Q. When you got your annual statements, did you ever look as
   3     what you're saying.                                                 3     to whether or not you were belng charged for those
   4   Q. Well, let me try to help you out                                   4     expenses?
   5   A. They're not -- they're not expenses that 1 paid. I was             5   A. No. Basically what I looked at, you know, was this first
   6     only paying the premium, to my knowledge. J wasn't paying           6     page, it would have had the cash value increases and 50
   7     any other expense.                                                  7     forth.
   8   Q. So le~s stay with Camp Exhibit 2 tha~s in front of you,            8   Q. And turning to the third ~em there on Camp Exhibit 2,
   9     and on the second page that you're already" you're                  9     Doctor, it says: There is a surrender charge as follows,
  10     already there --                                                   10     which is deducted from your accumulation account if the
  11   A. Uh-huh.                                                           11     policy is surrendered.
  12   Q. -- there is a line that starts out, it says: As described         12         Do you see that?
  13     in your policy.                                                    13   A. Yeah, 1 was aware of that, and I did pay a surrender
  14   A. Yeah.                                                             14     charge when I cashed the policy in.
  15   Q. Do you see that?                                                  15   Q. So you're aware the policy had a 20,year surrender charge?
  16   A. Yes.                                                              16   A. Yes, I was aware of that.
  17   Q. And than it says: The following provisions apply, and             17   Q. And there is a table on that page of Camp Exhibit 2. You
  18     then It refers to three separate charges, it numbers them          18     were aware that the surrender charge ultimately went down
  19      1, 2, 3. Do you see that?                                         19     over the period of 20 years?
  20   A. Yes, J do.                                                        20   A. Yes.
  21   Q. NOW, is it your understanding that for your policy those          21   Q. And were you aware of that when you -- around the time you
  22     three charges were deducted from ••                                22     bought the policy?                                                 I
  23           Well, let's start it this way: Do you understand             23   A. Yeah, 1 was aware of that, that it had a surrender charge         1
  2~      with your policy once you paid premium that goes Into             24     on it. That's -- 1 remember that; 1 don't remember these           j
  25      what's called the accumulation account of your policy?            25                               I
                                                                                   other things Jfthey were ever told to me 1 don't-- I


r---------------------------------------------------~------------------.---------------------'-------------,i,
                                                                       70                                                             Page 72         •l
   1   A, 1 was      J was not aware ofthat. What Ithought, it paid          1      don't know.                                                       1
   2
   3
         all the expenses and they got the interest on their
         investment with the money, then they paid all expenses and
                                                                             2
                                                                             3
                                                                                 Q. And, for example, in that table on Camp Exhibit 2, do you
                                                                                    see there's a Year 16?
                                                                                                                                                      iI
   4     what was left over would be then my cash value Increase.            4   A. YeS.
                                                                                                                                                      I
                                                                                                                                                      I
   S           So this was never, you know, told -- told to me or            5   Q. And there is a surrender charge for Year 16 of $9,420 7
   6     anything. It probably was and J probably did not remember           6   A. Yes.
   7     It.                                                                 7   Q. And to the best of your recollection was that the
   8   Q. So let -- I'll just address each of these expenses briefly         8      surrender charge you      that was deducted --
   9      here, Doctor. It says -                                            9   A. ltwas.
  10   A, Okay.                                                             10   Q. -- when you --
  11   Q. For No. 1 it says: There is an expense charge of $2.50            11   A. It was 9,000·somethlng. I don't remember the other
  12      per month, which may be increased after the fifth policy          12      dollars .-
  13     year to a maximum $5 per month upon prior written                  13   Q. Okay.
  14      notification.                                                     14   A. -- but I know It was 9,000 and something.
  15   A. Right.                                                            15   Q. And your policy issue date was May 15th of 1993 7
  16   Q. Did anyone ever tell you about that expense?                      16   A. Yes.
  17   A. J do not remember it. Maybe 50, maybe not. J don't -- J           17   Q. And so if you go 15 years from that, that would be
  18     just -- sorry, J just do not remember.                             18      May 15th, 2008; right?
  19   Q. And then referring to the second one, it says: There is           19   A. Yes.
  20     an additional monthly expense charge of $1.88 per $1,000           20   Q. And you surrendered your policy after that date, but
  21     of initial sum insured during the first two policy years           21      before the next May 15th; right?
  22      and 69 cents per $1,000 thereafter.                               22   A. Right.
  23           Do you see that?                                             23   Q. So that would be your 16th policy year you understood?
  24   A. Yes.                                                              24   A. Yes.
  25   Q. Did anyone eYer tell you about that?                              25   Q. Do you have any complaint about the surrender charge that




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  1      increased the amount of your cash value?                          A. Correct.
  2   A. Yes.                                                              Q. The expense charges and cost of insurance deductions;
  3   Q. And turn, if you would, to page -- Paragraph 52 on the              right?

         next page of the Complaint, Doctor.                               A. Yes.
  5   A. Okay.                                                         5   Q. And did anyone ever promise you that the expense charges
  6   Q. And I'll read it here, if you'll just read along, it says:    6     would stop?
  7      Generally speaking, the accumulation accounts grew when       7   A. No.
  8      policyholders paid premiums into them and when the Conseco    8   Q. That--
  9      Defendants paid interest on amounts held in the accounts.     9   A. No, I know those expense charges go on, but the policy is
 10          And that's what we just talked about a minute ago;       10     building value as it goes -- as it goes on, and your cash
 11      right?                                                       11     value might be less in one year than another year due to
 12   A. Uh-huh.                                                      12     expenses.
 13   Q. The inflows?                                                 13   Q. And the same with the cost of insurance deductions, did
 14   A. Right.                                                       14     anyone ever promise you that those cost of insurance
 15   Q. And you understood that's sort of how the policy worked;     15     deductions from your policy's cash value would at any
 16      right?                                                       16     point stop?
 17   A. Yes.                                                         17   A. No.
 18   Q. And then it says: And the accumulation accounts shrank       18   Q. And, Doctor, if you could turn back to the policy, which
 19      when policyholders borrowed money from them or when the      19     is camp Exhibit 1 in front of you.
 20      Conseco Defendants took money out -- out of the accounts     20   A. Right.
 21      in the form of cost of insurance deductions or expense       21   Q. And it's on your left-hand side.
                                                                                                                                                   :;
 22      charges.                                                     22   A.Oh.                                                                  J
 23          Do you see that?                                         23   Q. And turn, if you would, to the page that's 6C-61.                   J
 24   A. I see it. Let me read this.                                  24   A. 617
                                                                                                                                                  ~
 25          (Witness reviews document.)                              25   Q. Right.                                                              ~j
~--------------------------------------~----------------------------------------~1
                               Page 78                                  Page 80 1 "
                                                                                                                                                   1
  1         Yes. Okay.                                                 1   A. Okay.                                                               1
  2   Q. And, again, so we talked about the premium pay- -- your       2   Q. And I apologize for jumping around.                                  j
                                                                                                                                                   ~
  3     premium payments and any interest you received as being        3   A. That's okay.                                                        .j

  4     inflows a minute ago; right?                                   4   Q. I'm going to go back -- I'm going to go back to that                I
  5
  6
      A. Right.
      Q. So you understand your policy essentially also had these
                                                                       5
                                                                       6
                                                                               section labeled Expense Charges that we just went through
                                                                               a few minutes ago.                                                 I
  7

  8
        outflows in the form of expense deductions and cost of
        insurance deductions?
                                                                       7

                                                                       8
                                                                            A. Right.
                                                                           Q. And in the first -- again, there are two paragraphs. In
                                                                                                                                                  I
                                                                                                                                                  I
  9   A. I do, but I -- but I don't understand why they wait all       9       the first paragraph, did you see where it says in the
 10     those years and then send me a bill for $78,000, and I        10       second sentence: This charge may be increased by the
 11
 12
        know nothing about that being done, and I'm assuming
        during all that time that those amounts are being paid out
                                                                      11
                                                                      12
                                                                               company at a policy anniversary after the policy has been
                                                                               enforced for -- in force for at least five years, but not          I
                                                                                                                                                  ;

                                                                                                                                                   ,,
                                                                                                                                                   1
 13     ofthe cash values that are building up and making the         13       to exceed $5 per month per policy and only upon the giving          .1
 14     cash value less.                                              14       of 90-day notice of an increase to the owner?
 15         And that's the only insurance I've ever had that has      15
                                                                                                                                                   ~
                                                                            A. Yes.                                                                ~
 16     anything similar to that. Maybe others have it and I just     16    Q. Okay. And then we went through the second paragraph a               j
 17
 18
        don't know itt but I -- I've never seen that or
        encountered that in any other insurance policy.
                                                                      17
                                                                      18
                                                                               minute ago, and it says that after the first two policy
                                                                               years there is an additional monthly expense of 69 cents
                                                                                                                                                  i,
                                                                                                                                                   1
 19   Q. And you understood that there -- at some period of time      19       per $1,000 of initial sum insured; right?
 20     you would be able to stop paying premiums --                  20    A. Yes.
                                                                                                                                                  1!
                                                                                                                                                   ~
 21   A. Yes.                                                         21    Q. With your experience with life insurance over the years,            !
 22
 23
      Q. -- for your policy; rtght?
      A. Yes.
                                                                      22
                                                                      23
                                                                               has it been your experience that essentially the policies
                                                                               are priced based on units of $1,000 of coverage or more?           I
 24
 25
      Q. At the same time we just talked a minute ago about these
        outflows from your policy's cash value.
                                                                      24
                                                                      25
                                                                            A. Yes.
                                                                            Q. SO you understood the idea of $1,000 of coverage being
                                                                                                                                                   II
                                                                                                                                           . ",",,_J

                                                                                                                                           20
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                                                                                                         ges 109 to 112)
                                                             Page 109                                                             Page 111
  1     would, Doctor. I'm making good on my promise to skJp all         1      may temporarily disregard the notices we've seen as
  2     around and-·                                                     2     camp Exhibits 5, 6 and 7?
  3   A. That's not a problem.                                           3   A. Yes, it is.
  4   Q. -- make it really confusing for you.                            4   Q. Do you have an understanding that this period that you can
  5   A. No, that's not confusing. You've got it well organized.         5     temporarily disregard those previous notices was referred
  6   Q. Just to put us back in the time frame, camp Exhibit 7           6     to as a moratorium or moratorium period?
  7     is a letter you receiVed from Conseco Ufe around                 7   A. Yes.
  8     December 11th, 2008?                                             8   Q. Thafs what it was called?
  9   A. Yes.                                                            9   A. I don't remember that specifiC term, but yes. To me it
 10   Q. And ifs the second one of these shortfall notices you          10     meant that ultimately they're going to come back and want
 11     received?                                                       11     the $78,000 and other charges, and all they're doing at
 12   A. I'm assuming. I don't see anywhere where it says it's the      12     this point is temporarily suspending •• suspending all of
 13     second request. Oh, it was •• yeah, it's the second one.        13     that.
 14     Yeah.                                                           14   Q. And to your knowledge was that temporary suspension ever
 15   Q. Okay. The first one was camp Exhibit 6; right?                 15      lifted or changed?
 16   A. Yeah. Right. That was November •• yeah, so this .- yeah,       16   A. I don't know the answer to that.
 17     this would have been the second one.                            17   Q. During the period --
 IS   Q. And down at the bottom of camp Exhibit 7 there's a             18   A. It appeared •• it appeared to me, if you want to know the
 19     reference to Pyramidal _. as in the word pyramid                19     honest truth, they're dragging their feet and they're
 20     Pyramidal Funding Systams, Inc.                                 20     trying to get people on down the road until they get into
 21   A. Right.                                                         21     the payment sequence. I mean, that's what I thought.
 22   Q. Is that where _. is that where Mr. Gamble was affiliated       22         You know, companies like this are great when it comeS
 23     with around that time?                                          23     to sending you premiums and they're not so great when it            j
 24   A. No.                                                            24     comes to collecting from them it's been my experience.              1
 2S   Q. Do you know who Pyramidal funding Systems, Inc., Is?           25     They like to be paid, but they don't like to pay out.               ~
r--------------------------------------+--------------------------------------~l
                                   110                               Page 112                                                                      1

  1   A. I don't have the vaguest idea. 1 assume it's something to       1   Q. During the time that you continued to held the policy,
                                                                                                                                                   1j
  2     do with the insurance company, It's nothing to do with           2      were you ever told that this temporary suspension of any           "~
                                                                                                                                                   "i
  3     Mr. Gamble to my knowledge. I've never heard him being           3      of these notices was being lifted or changed?
  4     associated with anybody with that name.                          4   A. No. No.
                                                                                                                                                   j
                                                                                                                                                   ~
  5   Q. When you received camp Exhibit 7, did it change what your       5   Q. And toward the second       in the second paragraph of camp
  6     plan was?                                                        6      Exhibit 8, do you see that the second last .- or the last
  7   A. No, he just wanted me to expedite it and take care of it.       7      sentence says: Conseco Life expects this review to be
  8   Q. So around mid·December when you received camp Exhibit 7 it      8      completed on or before March 31st, 2009, and we'll provide
  9     was still your intention to cash out the policy?                 9      you with an update on the outcome of these discussions?
 10   A. Yes.                                                           10   A. Yes.
 11   Q. In fact, is it fair to say it was your intention to cash       11   Q. And did you ever get any update before you surrendered
 12     out the policy from the time you received the October 2008      12      your policy?
 13      letter until the policy was actually cashed out?               13   A. No, because I was _. I was out of it in early February.
 14   A. Yes.                                                           14      So I would not have been receiving communications from
 15   Q. Was there ever any change in your intention during that        15      them past that point, since I was no longer one of their
 16     period?                                                         16      clients.
 17   A. No.                                                            17   Q. And was it also your understanding that as a result of
 18   Q. Now lefs tum back, if you WOUld, to camp Exhibit 8 --          18      this temporary suspension of these other charges that you
 19   A. Okay.                                                          19      would no .. they would no longer be asking for these until
 20   Q. -- Ooctor.                                                     20      the time that that temporary suspension was lifted?
 21         camp Exhibit 8, just to get us back In time, is             21   A. Yeah.
 22      December -- a letter you received from Conseco Ufe around      22   Q. And you surrendered your policy before that ..
 23      December 19th, 2008?                                           23   A. I did.
 24   A. Yes, it is.                                                    24   Q. _. you were ever notified if that temporary suspension was
 25   Q. And this is the one that told you that at this time you        25      ever lifted?




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                                                                                                            1ges 117 to 120)
                                                                    117                                                            Page 119
 1        him making the inquiry on my behalf. And I may have              1     -- from cashing out your policy in February 2009 than is
 2     signed a letter he wrote or something. I don't remember.            2     reflected In camp Exhibit 11 because more cash value built
 3   Q. 00 you specifically remember going over with him figUres           3     up?
 4     such as the accumulated value that appears in camp                  4   A. Yeah, more cash value built up during that time.
 5     Exhibit 111                                                         5   Q. So going back to camp Exhibit 11, do you know or do you
 6   A. Yes, Ido.                                                          6     recall if you actually walked through those figures in
 7   Q. And did you go over with him the surrender charge of               7     camp Exhibit 11 when you met with Mr. Gamble on
 8     $9,420 that appears in camp Exhibit 11?                             8     December 22nd?
 9   A. Yes, we did.                                                       9   A. Yes, we did.

10   Q. And then you also would go OVer with him the net cash             10   Q. And on that date was your decision to go ahead and cash
11     value as of December 18th, 2008?                                   11     out the policy?
12   A. Yes.                                                              12   A. Yes.
13        We also went over the fact that, you know, this is              13   Q. And did anything about the temporary suspension of any of
14     less than the money I had paid In, so I was really losing          14     these changes or charges from the December 19th letter
15     some money on this policy. So, in other words, I did not           15     influence your thinking about whether or not to cash out
16     recover the premiums that I had paid in, that this was             16     the policy?
17     less, because of the surrender charge.                             17   A. Yeah, I wanted to get out as quick as I could get out
18   Q. You had paid five premiums for this policy'                       18     because at that -- it seems to me it was all in limbo, you
19   A. Yes, I paid five premiums.                                        19     know, and nobody knew exactly what was going to happen.
20   Q. And each premium was $18,000 and change?                          20     50 I was trying to get out of It and avoid any further
21   A. $18,750 or something like that.                                   21     charges.
22   Q. So ..                                                             22   Q. SO this temporary suspension or moratorium, the fact that
23   A. 50 about $95,000 thai: I had paid In, roughly that,               23     it existed, made you more likely to want to surrender your
24     rounding it off.                                                   24     policy?
25   Q. And the cash surrender value you ultimately received              25   A. Yes.



                                                                    118                                                            Page 120
 1      around February of 2009 was a little bit greater than the          1   Q. And you understood that had you kept -- kept the policy,
 2      $89,000 figure reflected in Camp Exhibit 11?                       2      held on to the policy longer, at least while this
 3   A. I'm sorry, repeat the question.                                    3      moratorium or temporary suspension was gOing on, your cash
 4   Q. Let me try it this way. I'll make it easier for you.                      value would stili increase a bit; right?
 5               MR. AERNI: Jennifer, I'd ask If you couid mark
                                                                           "
                                                                           5   A. Yes.
 6              this document as Camp Exhibit -- I think it's 12.          6               MR. AERNI: Jennifer, I'd ask we mark a new
 7               THE WITNESS: Thank you.                                   7             document as Camp Exhibit 13.
 8               (Thereupon, Camp Exhibit No. 12 was marked for            8               (Thereupon, Camp Exhibit No. 13 was marked for
 9              identification.)                                           9             identification.)
10      BY MR. AERNI:                                                     10      BY MR. AERNI:
11   Q. Doctor, I've now handed you what I've marked as camp              11   Q. Doctor, I've now handed you         you now have in front of
12      Exhibit 12. It's a single-page document with the                  12      you camp Exhibit 13. It has the identification numbers
13      identification number BC-31.                                      13      BC-78 to -80.
14   A. Correct.                                                          14   A. Yes.
15   Q. And does Camp Exhibit 31 (sic) identify for you the amount        15   Q. Is this a -- does Camp Exhibit 13 reflect a document you
16      of actual cash surrender value you received from Conseco          16      sent to Conseco Ufe Insurance Company around February of
17       life insurance policy -- or Conseco Ufe Insurance Company        17      20097
18      when you cashed out your policy?                                  18   A. ltdoes.
19   A. Itis.                                                             19   Q. And you sent it to Conseco Life by fax?
20    Q. And that was $89,920.447                                         20   A. Yes.
21   A. Correct.                                                          21   Q. And you sent it to Mr. Wathen?
22    Q. Which is, again, 3 to 4 hundred dollars more than is             22   A. Yes.
23      reflected in Camp Exhibit 117                                     23               MR. AERNI: And for Jennifer It's W-A-T-H-E-N,
24   A. Yeah. Yeah, it's $300 more.                                       24             Jennifer's benefit.
25    Q. And Is it your understanding that yoU received more from         25      BY MR. AERNI:




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STATE OF NORTH CAROUNA                                                                ADDENDUM A
COUNTY OF UNION                                                        Upon reading and examining my testimony as herein
                                                                 transcribed, I make the following additions, changes, and/or
                CERTIFICATE OF REPORTER                          corrections with the accompanying and corresponding reason(s)
                                                                 for the same:
       I, JENNIFER J. ALBERT, RPR, CRR, Notary Public and          Page Line             Is Amended to Read
Registered Professional Reporter, do hereby certify that
                                                                          --
JOE H. CAMP, D.D.S., was duly sworn by me prior to the taking
                                                                          --
of the foregoing deposition on June 26, 2014; that said
                                                                          --
deposition was taken and transaibed under my supervision and
direction; that the parties were present as stated; and that I
                                                                   --     --
am not of counsel for or in the employment of any of the
                                                                   --
parties to this action, nor am I financially or otherwise          - - --
interested in the outcome of this action.
       I do further certify that the foregoing" pages                     --

constitute a true and accurate transcript of the testimony,           --
and that the witness is being given 30 days in which to affiX      -- --
his notarized Signature to the testimony.                          --
       This the 30th day of June, 2014.                            --
                                                                   --

                                                                          --

                                                                          --
                   JENNIFER J. ALBERT, RPR, CRR
                   Notary Public #200817600029                                   JOE H. CAMP, D.D.S.



                                                  Page 138
                WITNESS CERTIFICATION


      I, JOE H. CAMP, D.D.S., hereby certify:
      That I have read and examined the contents of the
foregOing testimony as given by me on June 26, 2014, and that
to the best of my knowledge and belief the foregoing pages are
a complete and accurate record of the testimony given by me,
except as noted on the attached Addendum A hereto.
      1 have      have not _    made changeS/corrections.



               JOE H. CAMP, D.D.S.


      I, _ _ _ _ _ _ _~. Notary Public for the
County of             , State of _ _ _ _ _ _ _~.
hereby certify that the herein above-named appeared before me
this the ___ day of                               and that I
personally witnessed the execution of this document for the
intents and purposes as herein above described.



            NOTARY PUBUC


               (SEAL)


   My Notary Seal Expires: _ _ _ _ _ _ _ _ _ _ __




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